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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

Patent Rightsholder Identified in Exhibit 1,                 )
                                                             )
                                                             )
                                                 Plaintiff,  )
                                                             ) Case No.   1:24-cv-683
v.                                                           )
                                                             )
The Individuals, Partnerships, and                           )
Unincorporated Associations Identified on                    )
Schedule A,                                                  )
                                                             )
                                                 Defendants, )

                                          Schedule A

                                               (sealed)




                                                  1
